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                               UNITED STATES DISTRICT COURT
17

18                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                    OAKLAND DIVISION

20                                     )         Case No. 4:19-cv-07123-PJH
     WHATSAPP LLC and                  )
21   META PLATFORMS, INC.,             )
22   ,                                 )         PROPOSED JURY INSTRUCTIONS
                                       )
23                   Plaintiffs,       )
                                       )         Ctrm: 3
24          v.                         )         Judge: Hon. Phyllis J. Hamilton
                                       )         Trial Date: April 28, 2025
25   NSO GROUP TECHNOLOGIES LIMITED )
26   and Q CYBER TECHNOLOGIES LIMITED, )
                                       )
27                   Defendants.       )
                                       )
28
       Case 4:19-cv-07123-PJH           Document 732          Filed 05/03/25   Page 2 of 4




 1            Plaintiffs WhatsApp LLC and Meta Platforms, Inc. and Defendants NSO Group Technologies
 2   Limited and Q Cyber Technologies Limited (collectively, the “Parties”) hereby respectfully submit
 3   additional Proposed Jury Instructions.
 4            The Proposed Jury Instructions are attached as follows:
 5                   Exhibit A: Parties’ Jointly Proposed Jury Instructions
 6                   Exhibit B: Blind Copy of Parties’ Jointly Proposed Jury Instructions
 7                   Exhibit C: Plaintiffs’ Proposed Jury Instructions
 8                   Exhibit D: Blind Copy of Plaintiffs’ Proposed Jury Instructions
 9                   Exhibit E: Defendants’ Proposed Jury Instructions
10                   Exhibit F: Blind Copy of Defendants’ Proposed Jury Instructions
11            The jury instructions are subject to revision to account for the evidence that is received at
12   trial.
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     PROPOSED JURY INSTRUCTIONS- CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 732            Filed 05/03/25   Page 3 of 4




      Dated: May 3, 2025
 1                                                 DAVIS POLK & WARDWELL LLP
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14                                        FILER’S ATTESTATION
15          Pursuant to Civil L. R. 5-1(i)(3), regarding signatures, Greg D. Andres hereby attests that
16   concurrence in the filing of the document has been obtained from all of the signatories above.
17
      Dated:     May 3, 2025                                         /s/ Greg D. Andres
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                                                                     Greg D. Andres
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     PROPOSED JURY INSTRUCTIONS - CASE NO. 4:19-CV-07123-PJH
